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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

                                                       Docket No. 14-CV-14328-LTS

                                               )
Marc Clermont, individually and                )
on behalf of all others similarly situated,    )
                                               )
       Plaintiffs,                             )
                                               )
v.                                             )
                                               )
Monster Worldwide, Inc.,                       )
Salvatore Iannuzzi, and David Trapani,         )
                                               )
       Defendants.                             )
                                               )

                                    NOTICE OF SETTLEMENT

       Marc Clermont, through his undersigned counsel, provides the court notice that

the parties have settled this matter. Accordingly Mr. Clermont requests a 30 day order

which will allow the parties to finalize all settlement terms and thereafter file a stipulation

of dismissal.



                                               RESPECTFULLY SUBMITTED,
                                               Marc Clermont, individually and on behalf
                                               of all others similarly situated,

                                               By their Attorneys
                                               The Augeri Law Group, PLLC

Dated: June 15, 2015                           /s/ Anthony S. Augeri
                                               Anthony S. Augeri, BBO No. 648696
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                             CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants this 15th day of June, 2015.



                                                      /s/ Anthony S. Augeri
                                                      Anthony S. Augeri




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